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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,              )
                                        )
             Plaintiff,                 )
                                        )      1:07-65-cr-06 SEB-KPF
       vs.                              )
                                        )
 ERIC GUDE,                             )
                                        )
             Defendant.                 )
                                        )
 _______________________________________)______________________________________
                                        )
 UNITED STATES OF AMERICA,              )
                                        )
             Plaintiff,                 )
                                        )
       vs.                              )     1:07-66-cr-08 SEB-KPF
                                        )
 JOSE MENDOZA BARRAGAN,                 )
                                        )
             Defendant.                 )

          ORDER DENYING GOVERNMENT’S MOTION TO CONSOLIDATE

       The Court, being duly advised, hereby DENIES the Government’s Motion to Consolidate for

trial the above-referenced criminal cases involving, respectively, Defendants Barragan and Gude, for

the reason that the likelihood of prejudice to Gude in being joined for trial with Barragan outweighs

the inconvenience to the Government and to the Court of separate trials.

       Had the two defendants been indicted together, the Court likely would not have severed them

for trial. However, because they were indicted separately (for reasons not entirely clear to the Court

but certainly not subject to challenge by us) and, in addition, they are not alleged to have been co-

conspirators of one another, and because the factual overlaps and connections in their alleged

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criminal activities as described by the Government in its motion are relatively insubstantial and that

their connection would come into evidence, assuming its admissibility, pursuant to Rule 404(b) and

not through direct evidence, the Court concludes in its discretion that each case should continue to

be litigated separately and resolved separately, either by individual jury trials or by the Defendant’s

respective pleas of guilty.

       The trial of Defendant Barragan remains set for Monday, July 21, 2008, at 9:30 a.m. in Room

216 of the United States Courthouse. The trial of Defendant Gude will be reset by separate order.

       IT IS SO ORDERED.




       06/18/2008
Date: ________________                                     _______________________________
                                                            SARAH EVANS BARKER, JUDGE
                                                            United States District Court
                                                            Southern District of Indiana

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